Case 1:17-cv-02989-AT Document 1130-2 Filed 07/12/21 Page 1 of 7




                    Exhibit B
       Case 1:17-cv-02989-AT Document 1130-2 Filed 07/12/21 Page 2 of 7




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


 DONNA CURLING, ET AL.,
 Plaintiffs,
                                               DECLARATION OF
 v.                                            J. ALEX HALDERMAN

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.                                   Civil Action No. 1:17-CV-2989-AT




      Pursuant to 28 U.S.C. § 1746, J. ALEX HALDERMAN declares under

penalty of perjury that the following is true and correct:

      1.    I hereby incorporate my previous declarations as if fully stated herein. I

have personal knowledge of the facts in this declaration and, if called to testify as a

witness, I would testify under oath to these facts.

      2.    When a security analysis demonstrates the existence of vulnerabilities

in election equipment, there are a wealth of reasons to make those findings broadly

available to the public, subject to appropriate limitations.

      3.    Public disclosure ensures that all jurisdictions that rely on the vulnerable

equipment will be aware of the problems and able to begin mitigating them. It

informs law enforcement and national security groups about forms of attack that they
       Case 1:17-cv-02989-AT Document 1130-2 Filed 07/12/21 Page 3 of 7




should be on the lookout for. It helps jurisdictions that are procuring new equipment

make better informed purchases. It ensures that vendors of other equipment that may

suffer from similar problems are on notice. It provides a foundation for research and

development of stronger election security mechanisms. It informs test laboratories

and regulators such as the U.S. Election Assistance Commission about gaps in

established testing methodologies. It also helps inform policymakers, such as state

legislatures and the U.S. Congress, which is now considering several measures to

overhaul election cybersecurity. Ultimately, transparency about actual election

system vulnerabilities can improve public trust in elections by demonstrating that

election security has been rigorously scrutinized and by helping to separate facts

about real vulnerabilities (which technology and policy changes can address) from

the baseless speculation and fantasy of conspiracy theorists.

      4.    However, it is important to make findings about vulnerabilities public in

the right way, considering both the timing of the public disclosure and its content.

In general, public vulnerability disclosures must “strike a careful balance between

the public’s interest in transparency into whether their voting systems are secure and

the public’s interest in being protected against the risks due to the disclosure of those




                                           2
       Case 1:17-cv-02989-AT Document 1130-2 Filed 07/12/21 Page 4 of 7




flaws.”1 Previous election security analyses have attempted to strike this balance by

withholding specific details that would greatly benefit potential attackers while

shedding little light for the public about the scope or nature of the security problems.

       5.    A prime example of how this balance has been struck is the California

Secretary of State’s Top-to-Bottom Review of Electronic Voting Systems (TTBR),

the first comprehensive state-sponsored election security review, in which I took part

as an expert. The TTBR resulted in hundreds of pages of public reports describing

numerous vulnerabilities in voting systems from four major vendors.2 Nevertheless,

the authors withheld certain key details about some of the problems. In the words of

the principal investigator, “Our objective was to avoid reducing the amount of access

an attacker would require to attack elections. We attempted to accomplish this by

omitting details that would have the effect of converting an attack that would require

reverse engineering or access to the source code into one that would not. These

details were relegated to a confidential appendix.”3 Project EVEREST, a similar

comprehensive election security review commissioned by the Secretary of State of




1
  David A. Wagner, “Principal Investigator’s Statement on Protection of Security-Sensitive
Information,” California Top-to-Bottom Review of Voting Systems (2007). Available at
https://votingsystems.cdn.sos.ca.gov/oversight/ttbr/state-of-protect(dw).pdf.
2
  California Secretary of State, Top-to-Bottom Review (2007).
https://www.sos.ca.gov/elections/ovsta/frequently-requested-information/top-bottom-review.
3
  Ibid. 1.


                                              3
       Case 1:17-cv-02989-AT Document 1130-2 Filed 07/12/21 Page 5 of 7




Ohio, applied a similar strategy, again making hundreds of pages of detailed findings

public while withholding key details in select instances.4

       6.    The computer science research community similarly recognizes that

researchers who discover vulnerabilities have a professional and ethical duty to

safeguard the public interest. Key to this protection is the notion of giving

responsible parties an early warning about the problems before such knowledge

becomes public (a so-called “disclosure window”), so that they can take remediative

action. During the scientific peer review process, referees consider whether the duty

to protect the public has been fulfilled and may deny or delay publication if it has

not. For example, the IEEE Symposium on Security and Privacy, one of the premier

scientific venues for security research, requires that:

              “Where research identifies a vulnerability (e.g., software vulnerabilities

              in a given program, design weaknesses in a hardware system, or any

              other kind of vulnerability in deployed systems), we expect that

              researchers act in a way that avoids gratuitous harm to affected users

              and, where possible, affirmatively protects those users. In nearly every




4
 Patrick McDaniel et al., “EVEREST: Evaluation and Validation of Election-Related
Equipment, Standards and Testing” (2007). Available at
https://www.eac.gov/sites/default/files/document_library/files/EVEREST.pdf.


                                             4
       Case 1:17-cv-02989-AT Document 1130-2 Filed 07/12/21 Page 6 of 7




              case, disclosing the vulnerability to vendors of affected systems, and

              other stakeholders, will help protect users. It is the committee’s sense

              that a disclosure window of 45 days to 90 days ahead of publication is

              consistent with authors’ ethical obligations.”5

       7.    In preparing my expert report in this case, I did not anticipate that it

might become public immediately, given the Court’s existing protective order. As

such, the report contains some specific details that might be dangerous in the wrong

hands. I would be happy to prepare an abridged version that removes this

information if the Court sees fit to make the findings public.

       8.    I have been attempting since January, through Plaintiffs’ counsel, to

meet with Dominion to confidentially discuss the vulnerabilities in my report.

However, Dominion has yet to agree to meet. It would be dangerous to provide

Dominion with the complete report if it were then disclosed through discovery in the

company’s various ongoing defamation suits to anyone who might misuse it.




5
 IEEE Symposium on Security and Privacy, “Call for Papers” (2021). Available at
https://www.ieee-security.org/TC/SP2022/cfpapers.html.


                                             5
      Case 1:17-cv-02989-AT Document 1130-2 Filed 07/12/21 Page 7 of 7




      I declare under penalty of the perjury laws of the State of Georgia and the

United States that the foregoing is true and correct and that this declaration was

executed this 12th day of July, 2021 in Rushland, Pennsylvania.




                                      J. ALEX HALDERMAN




                                         6
